           Case 2:18-cr-00131-RAJ Document 1470 Filed 10/16/20 Page 1 of 1




 1                                                THE HONORABLE RICHARD JONES
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 5
 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
     UNITED STATES OF AMERICA,                  ) No. CR18-131 RAJ
 9                                              )
                  Plaintiff,                    )
10                                              )
             v.                                 ) ORDER GRANTING MOTION TO
11                                              ) FILE EXHIBITS UNDER SEAL
     BRADFORD STREET,                           )
12                                              )
                  Defendant.                    )
13                                              )
14
          THIS MATTER comes before the Court upon Defendant Bradford Street’s
15
     motion to file the medical record exhibits to his motion for compassionate release
16
     under seal. Having considered the motion and the files and pleadings herein, and
17
     finding good cause,
18
           IT IS ORDERED that Defendant Bradford Street’s Motion to Seal Exhibits
19
     (Dkt. #1465) is GRANTED. Mr. Street’s medical records filed under Dkt. #1467
20
     shall remain under seal.
21
          DATED this 16th day of October, 2020.
22
23
24
                                                   A
                                                   The Honorable Richard A. Jones
25                                                 United States District Judge

26

                                                                        PETER A. CAMIEL
                                                                   CAMIEL & CHANEY P.S.
     ORDER GRANTING MOTION TO SEAL
                                                                   520 Pike Street, Suite 2500
     (USA v. Street CR 18-131 RAJ ) - 1
                                                                          Seattle, WA 98101
                                                                               (206)624-1551
